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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                   Chapter 11
96 WYTHE ACQUISITION LLC,
                                                         Case No.: 21-22108 (RDD)
                           Debtor.


               THIRD AMENDED CONFIRMATION SCHEDULING ORDER

         In light of the rescheduling of the hearing to consider confirmation of the Third Amended

Chapter 11 Plan of Reorganization of 96 Wythe Acquisition LLC [Docket No. 196] (the “Plan”)

from February 15, 2022 to March 8, 2022, it is hereby

         ORDERED, ADJUDGED, AND DECREED that:

         1.     The following schedule shall govern proceedings relating to confirmation of the

Plan, which shall and hereby does supersede the schedule as provided for under the Court’s Order

(the “Confirmation Scheduling Order”) entered on December 1, 2021 approving the Debtor’ Third

Amended Disclosure Statement and setting down scheduling and deadlines for Confirmation:

                                                    Date and Time (prevailing Eastern Time),
                            Event                                as applicable

               Voting Record Date                    November 5, 2021
               Disclosure Statement Hearing          November 5, 2021, at 10:00 a.m.
               Notice of Confirmation Hearing        December 2, 2021
               Solicitation Date                     December 2, 2021
                                                     January 6, 2022for a Claim filed by the Bar
                                                     Date or January 21, 2022 for a Claim filed
               Claims Objection Deadline             by the Supplemental Bar Date (as
                                                     applicable, the “Claims Objection
                                                     Deadline”)
                                                     January 13, 2021 [except BSP, deadline
               Plan Objection Deadline
                                                     1/17]
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                                                     January 20, 2022 for a Claim filed by the
             Bankruptcy Rule 3018 Motion
                                                     Bar Date or February 10, 2022 for a Claim
             Deadline
                                                     filed by the Supplemental Bar Date
             Deadline for BSP to File                February 18, 2022
             Supplemental Objection (Based
             Solely on the Examiner’s Report),
             If Any
             Voting Deadline                         February 22, 2022, at 4:00 p.m.
             Opt Out Deadline                        February 22, 2022, at 4:00 p.m.
             Deadline To File Voting Report          February 25, 2022
             Deadline to File Response to Plan
                                                     February 14, 2022
             Objections
             Deadline to File Response to BSP’s
                                                     February 25, 2022
             Supplemental Objection, If Any
             Deadline for the Debtor to File
                                                     February 22, 2022
             Confirmation Brief, If Any
             Deadline for BSP to File Sur-reply
             to Debtor’s Response to Plan            February 25, 2022
             Objection

             Deadline to File Sur-reply to           March 1, 2022
             Response to BSP’s Supplemental
             Objection, If Any
             Deadline for BSP to File Response       March 1, 2022
             to Confirmation Brief, If Any
             Confirmation Hearing Date               March 8, 2022, at 10:00 a.m.


       2.      Nothing herein shall prejudice the Debtor’s rights to amend the Plan or any Plan

Supplement or any party’s rights pursuant to the Order (I) Approving the Third Amended

Disclosure Statement, (II) Approving Solicitation and Notice Materials, (III) Approving Forms of

Ballots, (IV) Establishing Solicitation and Voting Procedures, (V) Establishing Procedures For

Allowing Certain Claims For Voting Purposes, (VI) Scheduling a Confirmation Hearing, and (VII)

Establishing Notice and Objection Procedures.        Unless otherwise provided for herein, the

Confirmation Scheduling Order shall remain in full force and effect.




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        3.      The Confirmation Hearing shall be held at 10:00 a.m. (prevailing Eastern

Time) on March 8, 2022, or as soon thereafter as the parties may be heard, subject to the

availability of the Court.1 The Confirmation Hearing may be continued from time to time by the

Court or the Debtor without further notice other than adjournments being announced in open court

or through a filing of a notice of adjournment on the Court’s docket.

        4.      Objections to confirmation of the Plan or proposed modifications to the Plan, if

any, must (i) be in writing, (ii) conform to the Bankruptcy Rules and the Local Rules, (iii) state

the name and address of the objecting party and the amount and nature of such party’s Claim or

Interest, (iv) state with particularity the basis and nature of any objection(s) to the Plan and, if

practicable, a proposed modification to the Plan that would resolve such objection, and (v) be filed,

together with proof of service, with the Court electronically and served on the parties listed in the

Confirmation Hearing Notice, with a copy to the Court’s chambers, in each case so as to be actually

received on or before 4:00 p.m. (prevailing Eastern Time) on January 13, 2022 except as

otherwise provided above or ordered by the Court. Objections to confirmation of the Plan

not timely filed and served in the manner set forth above may not be considered and may be

overruled.

        5.      The Debtor is authorized to take or refrain from taking any action necessary or

appropriate to implement the terms of and the relief granted in this Order without seeking further

order of the Court.

        6.      The Debtor is authorized and empowered to take all actions necessary to implement

the relief granted in this Confirmation Scheduling Order.


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  Unless notice otherwise is given, the Confirmation Hearing will be held remotely via Zoom®. Participants are
required to register their appearance by 4:00 PM the day before any scheduled Zoom® hearing at
https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl.


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       7.      This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation and enforcement of this Confirmation Scheduling Order.

Dated: January 28, 2022
      White Plains, New York



                                               /s/Robert D. Drain
                                               THE HONORABLE ROBERT D. DRAIN
                                               UNITED STATES BANKRUPTCY JUDGE




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